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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
CENTER FOR IMMIGRATION              )
STUDIES,                            )
                                    )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )           Civil Action No. 19-0087 (ABJ)
                                    )
RICHARD COHEN, et al.,              )
                                    )
                  Defendants.       )
____________________________________)


                                        ORDER

        Pursuant to Federal Rule of Civil Procedure 12, and for the reasons stated in the

accompanying Memorandum Opinion, it is hereby

       ORDERED that defendants’ motion to dismiss [Dkt. # 11] is GRANTED. This is a

final appealable order.

       SO ORDERED.




                                         AMY BERMAN JACKSON
                                         United States District Judge

DATE: September 13, 2019
